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                        UN ITED STA TES D ISTRICT C OU RT FO R TH E
                              SO U TH ERN D ISTR ICT O F FLORID A
                                    FORT PIERCE D IV ISION
                     Case N um ber: I7-I4Z8I-CIV-M A RTIN EZ-M AY N AR D

   JOD Y GU D GER AN D RH ON D A K IN G ,on
   behalfofthem selvesand sim ilarly situated
   others,
          Plaintiffs,



   CEN TEN E M AN A G EM EN T C O .,LLC and
   SUN SH IN E STA TE H EALTH PLAN ,IN C.,
         Defendants.


    O R DE R A DO PTIN G M A G ISTR ATE JU D G E 'S R EPO RT A N D RE CO M M EN D ATIO N

          TH IS M A TTER was referred to the H onorable Shaniek M . M aynard, U nited States

   M agistrate Judge, for a Report and Recom m endation on Plaintiffs' M otion to Conditionally

   Certify Collective A ction (ECF No.401 and Defendants' Motion to Strike (ECF No.451.

   MagistrateJudge Maynard filed a Reportand Recommendation (ECF No.571,recommending
   that Plaintiffs' M otion to Conditionally Certify Collective A ction be GR AN TED and

   Defendants'M otion to Strike be D EN IED . This Courthas review ed the entire file and record

   and notesthatno objectionshavebeen filed. ln fact,thepartiesfiled ajoint'Notice ofNon-
   Objection to Reportand Recommendation (ECF No.621. After carefulconsideration,itis
   hereby.
         .

          A DJUD G ED that United States M agistrate Judge Shaniek M . M aynard's Report and

   Recommendation gECFNo.57jisAFFIRM ED andADOPTED.Accordingly,itis:
          A DJUD G ED that

                 Plaintiffs'M otion to Conditionally Certify Collective Action (ECF No.401is
   G R AN TED ,consistentw ith the instructions setforth in M agistrate Judge M aynard's Reportand
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  Recom m endation.

                Defendants'MotiontoStrikeLECFNo.451isDENIED.
         DONEAND ORDERED inChambersatMiami,Florida,thisRodayofJuly,20l8.


                                                       f

                                            JO SE E. A RTIN EZ
                                            UN ITE TATES D ISTRIC JU DG E
  Copies provided to:
  M agistrate Judge M aynard
  A 1lCounselofRecord
